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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LUXOTTICA GROUP S.p.A. and OAKLEY,                     )
INC.,                                                  )   Case No. 18-cv-02188
                                                       )
                         Plaintiffs,                   )   Judge Joan B. Gottschall
                                                       )
        v.                                             )   Magistrate Judge Sidney I. Schenkier
                                                       )
XIONG HUA PING, et al.,                                )
                                                       )
                         Defendants.                   )
                                                       )

                       PLAINTIFFS’ RESPONSE IN OPPOSITION TO
                          DEFENDANTS’ MOTION TO DISMISS

        Plaintiffs Luxottica Group S.p.A. and Oakley, Inc. (“Plaintiffs”) submit their response to

Defendants belmon official store, donna official store, Shop513892 Store, story boutique store,

who cutie glasses factory store, and woo shao’s store (“Defendants”) Motion to Dismiss the

Amended Complaint [102]. Pursuant to this Court’s Order [110], Plaintiffs’ below Response will

only address the service issue from Defendants’ Motion.

                                         INTRODUCTION

        Defendants are unknown China-based AliExpress1 online marketplace operators that

offered for sale, sold, and shipped products using counterfeit trademarks to the United States.

Trademark counterfeiting is a widespread and massive problem for Plaintiffs and virtually every

other well-known brand due to vast numbers of online sellers in China. Specifically, 86 percent

of all global counterfeit products originate in China and Hong Kong markets, and China and Hong



1
  AliExpress (www.aliexpress.com) is a global retail marketplace that enables consumers from around the
world to buy directly from manufacturers and distributors primarily based in China. The United States is
listed as a top consumer market.              AliExpress is a business of Alibaba Group. See
https://alibabagroup.com/en/about/businesses.

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Kong accounted for 78 percent of the estimated $1.2 billion value of all seizures in 2017.

Declaration of Justin R. Gaudio (the “Gaudio Declaration”) at ¶¶ 3-4. One of the few effective

mechanisms to combat the epidemic of China-based online counterfeiters are lawsuits filed in

United States Federal Courts. Plaintiffs have filed over one hundred such lawsuits disabling over

120,000 China-based Internet stores since 2012.2 The law is well-established regarding the ability

to bring actions against China-based online counterfeiters in U.S. Federal Courts, including serving

defendants electronically pursuant to Fed. R. Civ. P 4(f)(3).

        On March 28, 2018, Plaintiffs moved this Court for permission to effectuate service of

process on the unknown Defendant AliExpress store operators pursuant to Federal Rule of Civil

Procedure 4(f)(3) via email and electronic publication. Plaintiffs’ Motion [21] was supported with

legal authority in the accompanying Memorandum [22] and Declaration [23] (“First 4(f)(3)

Memorandum”). On April 11, 2018, this Court granted Plaintiffs’ Motion. [29]. As a result,

Defendants received prompt notice of this case, which is particularly important given the expedited

injunctive relief sought by Plaintiffs. Indeed, shortly after receiving electronic notice of this Case,

Defendants promptly responded to Plaintiffs and/or obtained attorneys to discuss settlement prior

to retaining their current counsel.

        Defendants’ Motion ignores the legal authority citied in Plaintiffs’ 4(f)(3) Memorandum

[22], and argues that the exclusive method for service of a China-based individual or entity is under

the Convention of 15 November 1965 on the Service Abroad of Judicial and Extrajudicial

Documents in Civil or Commercial Matters (“Hague Convention”). This would require that the

Chinese Central Authority serve documents on the physical address of Defendants, a process that



2
  Since 2012, over 500 such cases have been filed in this District. Gaudio Declaration at ¶ 5. Hundreds of
similar cases have been filed in other districts as well. Id.


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takes 1-2 years.3 First, pursuant to Article I of the Hague Convention, it does not apply since

Defendants’ physical addresses were unknown. Even if Defendants’ physical addresses were

known, electronic service is proper under Fed. R. Civ. P 4(f)(3). Neither Fed. R. Civ. P. 4 nor any

other rule requires that a party first attempt service through the Hague Convention. Finally, service

via email and electronic publication is not prohibited by international agreement (or Chinese law)

and comports with constitutional notions of due process. The Internet and email did not even exist

in 1965 when the Hague Convention was implemented, and Circuit and District Courts across the

United States have repeatedly rejected the notion that China’s objection on service via postal mail

extends to email.

        Defendants’ suggestion that brand owners must complete the impossible task of unmasking

China-based Internet store operators and taking years to effectuate service would effectively leave

brand owners without remedy against the rampant online counterfeiting described above.

Defendants should not be able to insulate themselves from any harm that they cause in the United

States simply by locating themselves within the borders of China or any other country outside the

United States. Defendants’ Motion must be denied.

                                           BACKGROUND

        Defendants are unknown China-based AliExpress online marketplace operators that

offered for sale, sold and shipped products using counterfeit versions of Plaintiffs’ Trademarks to

sell sunglasses (Counterfeit Products”) to the United States.            Gaudio Declaration at ¶ 2.




3
 Even if defendants had known addresses, the standard turnaround time for service in accordance with the
Hague Convention in China is now between 1 and 2 years. Gaudio Declaration at ¶ 16. See also Sulzer
Mixpac AG v. Medenstar Indus. Co., 312 F.R.D. 329, 332 (S.D.N.Y. 2015) (noting that the plaintiff had
submitted materials to Chinese Central Authority eight months prior, “however, plaintiff has no indication
on when service might be effectuated”).


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Defendants operate their Internet stores in the English language. Id. Plaintiffs filed this lawsuit

against Defendants on March 27, 2018 to combat Defendants’ illegal activities.

          On April 11, 2018, this Court entered a Temporary Restraining Order4 (“TRO”) that,

among other things, enjoined Defendants from selling Counterfeit Products, allowed expedited

discovery and directed Plaintiffs to electronically complete service of process on Defendants

pursuant to Fed. R. Civ. P. 4(f)(3). [30]. Specifically, the Court ordered Plaintiffs to serve

Defendants by electronically publishing a link to the Amended Complaint and other relevant

documents on a website and by sending an email to the email address provided for Defendants that

includes a link to said website. [30] at ¶ 8. Electronic publication and email have proved to be

reliable mechanisms for quickly providing notice to Internet store operators in similar cases.

Gaudio Declaration at ¶ 6. Indeed, thousands of defendants in cases overseen by Plaintiffs’ counsel

have confirmed receipt of actual notice via email. Id.

          Pursuant to this Court’s Order [30], Plaintiffs served the TRO on AliExpress to obtain the

email addresses provided and used by Defendants to register their AliExpress accounts (the

“Service Email Addresses”). Gaudio Declaration at ¶ 7. AliExpress provided no names or

physical addresses for Defendants. Id.           Plaintiffs served Defendants at the Service Email

Addresses on May 16, 2018. [44], Gaudio Declaration at ¶ 8. Plaintiffs have further provided

notice of the TRO and their Motion for Entry of the Preliminary Injunction to Defendants at the

Service Email Addresses. Id. at ¶ 9. On information and belief, Defendants also received notice

of this case from AliExpress. Id. at ¶ 10.

          Defendants have responded on eight separate occasions via email to the notices sent by

Plaintiffs regarding this case using the Service Email Addresses. Id. at ¶ 11. Plaintiffs have


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    The TRO was subsequently converted to a Preliminary Injunction on May 9, 2018. [43].


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responded to each of these emails. Id. at ¶ 12. In total, Defendants received notice of this case via

email on at least eleven separate occasions. Id. at ¶¶ 8-12. Many of the Defendants also contacted

Plaintiffs through U.S. counsel, and settlement discussions were ongoing before Defendants joined

together and obtained their current counsel.5 Defendants then requested extensions totaling over

seventy days ([60], [96]), refused to discuss settlement with Plaintiffs, and filed this Motion.

                                               ARGUMENT

        Rule 4(f) of the Federal Rules of Civil Procedure governs international service of process

on foreign individuals. Service under Fed. R. Civ. P. 4(f)(3) “must be (1) directed by the court;

and (2) not prohibited by international agreement. No other limitations are evident from the text.”

FTC v. Repair All PC, LLC, 2017 U.S. Dist. LEXIS 83173, at *8 (N.D. Ohio May 31, 2017). Rule

4(f)(3) empowers the Court with flexibility and discretion to fit the manner of service utilized to

the facts and circumstances of the particular case. Id.

        Rule 4 does not require that a party attempt service of process by other methods enumerated

in Rule 4(f) before petitioning the court for alternative relief under Rule 4(f)(3), and the Hague

Convention does not displace Rule 4(f)(3). See Nagravision SA v. Gotech Int’l Tech. Ltd., 882

F.3d 494, 498 (5th Cir. 2018) (defendant’s argument “misses the mark because service was not

effected pursuant to the Hague Convention, and that agreement does not displace Rule 4(f)(3).”);

Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1014-1015 (9th Cir. 2002). As the Rio

Properties Court explained, Rule 4(f) does not create a hierarchy of preferred methods of service

of process. Rio Props., Inc., 284 F.3d at 1014. To the contrary, the plain language of the Rule


5
 The circumstances leading up to Defendants’ Motion are unusual. Shortly after Defendants received email
notice of this Case pursuant to the Court’s 4(f)(3) order, Plaintiffs were contacted by three separate attorneys
representing one or more Defendants. Gaudio Declaration at ¶ 13. Several of Defendants’ account balances
are minimal, including one account with a balance of $0.00. Id. Settlement agreements were exchanged
with counsel for several Defendants, but never returned. Id.


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requires only that service be directed by the court and not be prohibited by international agreement.

There are no other limitations or requirements. Id. Alternative service under Rule 4(f)(3) is neither

a “last resort” nor “extraordinary relief,” but is rather one means among several by which an

international defendant may be served. Id. The task of determining whether a given case requires

alternate service of process "is placed squarely within the sound discretion of the district court.”

FTC v. Repair All PC, LLC, 2017 U.S. Dist. LEXIS 83173, at *9.

        Moreover, the Ninth Circuit in Rio Properties held, “without hesitation,” that e-mail

service of an online business defendant “was constitutionally acceptable.” Rio Props., Inc., 284

F.3d at 1017. The Court reached this conclusion, in part, because the defendant conducted its

business over the Internet, used e-mail regularly in its business, and encouraged parties to contact

it via e-mail. Id. Courts across the United States, including every full-time Judge in the District

Court of the Northern District of Illinois, have held that service by e-mail and electronic

publication on China-based defendants pursuant to Rule 4(f)(3) is appropriate and may be the only

means of effecting service of process “when faced with an international e-business scofflaw.” Id.

at 1018; Sulzer Mixpac AG, 312 F.R.D. at 331-32 (S.D.N.Y. 2015); see also, Exhibit 8 to Gaudio

Declaration (collecting cases in this District and other Districts).

   I.      The Hague Convention Does Not Apply Because Defendants’ Addresses Were
           Unknown.

        The United States and China are signatories to the Hague Service Convention. Gaudio

Declaration at ¶ 15. However, Article 1 of the Hague Convention states that “[t]his Convention

shall not apply where the address of the person to be served with the document is not known.” Id.

Defendants’ Internet stores only provided store names. Id. at ¶ 2. No physical address was




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provided on the Internet stores,6 and they did not identify the owner of the Internet stores. Id.

Since Defendants’ names and addresses were not known, the Hague Convention did not apply,

and the Court-directed service was proper under Fed. R. Civ. P. 4(f)(3). See MCM Holding AG,

et al. v. Dequn Zhao, et al., No. 18-cv-1677 (N.D. Ill. Aug. 14, 2018) (Docket Entry 42) (electronic

service proper on China-based defendant under Fed. R. Civ. P. 4(f)(3) because defendant’s address

was unknown); Levi Strauss & Co. v. Zhejiang Weidu Garment Co., Ltd., et al., No. 16-cv-07824

(N.D. Ill. Sept. 28, 2016) (Docket Entry 52) (same); Chanel, Inc. v. Zhixian, 2010 U.S. Dist. LEXIS

50745, at *7 (S.D. Fla. Apr. 29, 2010) (same).

     II.      Attempting Service Through the Hague Convention Is Not Mandatory.

           Even if Defendants’ addresses were known, which they were not, the Hauge Convention

does not displace Fed. R. 4(f)(3). Nagravision SA v. Gotech Int’l Tech. Ltd., 882 F.3d at 498. Rule

4(f) does not require that a party attempt service of process through the Hague Convention as

prescribed in Rule 4(f)(1) before petitioning the Court for alternative relief under Rule 4(f)(3). Rio

Props, 284 F.3d at 1014. According to its plain language, Fed. R. Civ. P. 4(f)(3) requires that

service must be (1) directed by the Court, and (2) not prohibited by international agreement. Id.

No other limitations are evident from the text. Id. Rule 4(f)(3) “is not subsumed within or in any

way dominated by Rule 4(f)’s other subsections; it stands independently, on equal footing.

Moreover, no language in Rules 4(f)(1) or 4(f)(2) indicates their primacy, and certainly Rule

4(f)(3) includes no qualifiers or limitations which indicate its availability only after attempting

service of process by other means.” Id. at 1015. Service under Fed. R. Civ. P. 4(f)(3) is “neither




6
 Several Defendants provided unverified physical addresses only after they were given notice pursuant to
Fed. R. Civ. P. 4(f)(3). Gaudio Declaration at ¶ 11. However, but for the Court’s Order authorizing service
per Fed. R. Civ. P. 4(f)(3), Defendants would not have received prompt notice of this case.

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a last resort nor extraordinary relief. It is merely one means among several which enables service

of process on an international defendant.” Id. (citations omitted).

       Since “[the Supreme Court] has not provided clear guidance as to how the requirements of

the Hague Convention interact with a court’s authority to order alternative service under Rule

4(f)(3),” many courts “have reasoned that alternative service may be ordered pursuant to Rule

4(f)(3) as long as the alternative method of service is not expressly prohibited by the Convention

or objected to by the receiving state.” Richmond Techs., Inc. v. Aumtech Bus. Solutions, 2011 U.S.

Dist. LEXIS 71269, at *40 (N.D. Cal. July 1, 2011). Numerous courts have authorized alternative

service pursuant to Fed. R. Civ. P. 4(f)(3) even when the defendant resides in a country that is a

signatory to the Hague Convention, including for China-based defendants. See id. at *40-41;

Nagravision SA, 882 F.3d at 498 (authorizing email service on China-based defendant pursuant to

Fed. R. Civ. P. 4(f)(3)); Sulzer Mixpac AG, 312 F.R.D. at 331-32 (same); In re LDK Solar

Securities Litigation, 2008 U.S. Dist. LEXIS 90702, at *11 (N.D. Cal. June 12, 2008) (same);

Williams-Sonoma Inc. v. Friendfinder Inc., 2007 U.S. Dist. LEXIS 31299, at *5-7 (N.D. Cal. Apr.

17, 2007) (same).

       Defendants fail to mention or address any of the numerous supporting cases cited in

Plaintiffs 4(f)(3) Memorandum [22]. Likewise, all of the cases cited by Defendants pertain to

service by postal mail, and none even mention Fed. R. Civ. P. 4(f)(3) or electronic service. For

example, in Water Splash Inc. v. Menon, the Supreme Court only discussed a prohibition on service

by postal mail, but otherwise does not discuss a court’s authority under Fed. R. Civ. P. 4(f)(3) or

electronic service. Water Splash, Inc. v. Menon, 137 S. Ct. 1504, 1513 (2017). Likewise,

Rockefeller Technology Investments (Asia) VII v. Changzhou SinoType Technology Co., Ltd., a

California state court case cited by Defendants, only discusses whether service by postal mail



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violates the Hague Convention. 233 Cal. Reptr. 3d 814, 825 (Ct. App. Cal. 2018). Since

Rockefeller is a state court case, it also does not discuss a court’s authority under Fed. R. Civ. P.

4(f)(3), or even any Federal Rule of Civil Procedure. Caterpillar Inc. v. Brighton Indus. discusses

service on a Hong Kong company by international registered mail, and ultimately concludes that

Article 10(a) of the Hague Convention allows service by registered mail on a defendant in a foreign

country. 2013 U.S. Dist. LEXIS 190013, at *11 (C.D. Ill. 2013). In Brockmeyer v. May, the Ninth

Circuit noted that courts had authorized a variety of alternative methods of service abroad,

including email, but that Fed. R. Civ. P. 4(f)(3) required prior court approval, which the plaintiffs

in that case did not obtain. 383 F.3d 798, 805-06 (9th Cir. 2004). Finally, Defendants rely on

dicta from Volkswagenwerk Aktiengesellschaft v. Schlunk that “compliance with the [Hague]

Convention is mandatory in all cases to which it applies.” Volkswagenwerk Aktiengesellschaft,

486 U.S. 694, 698-708 (1988). However, Volkswagenwerk was decided in 1988, before the

inclusion of subsection of Fed. R. Civ. P. 4(f)(3) in 1993. As such, Volkswagenwerk does not

mention or address Fed. R. Civ. P. 4(f)(3) or service by email.

   III.      Email Service Is Not Prohibited by The Hague Convention, and China Has Not
             Objected to Service of Process by Email.

          Courts have also agreed that service by email is not prohibited by the Hague Convention,

including for China-based defendants. Maclean-Fogg Co. v. Ningbo Fastlink Equip. Co., 2008

U.S. Dist. LEXIS 97241, at *5 (N.D. Ill. Dec. 1, 2008) (holding that “[t]he Hague Convention does

not prohibit service by e-mail or facsimile”); Sulzer Mixpac AG v. Medenstar Indus. Co., 312

F.R.D. at 331-32 (granting motion to serve Chinese defendant by email); Nanya Tech. Corp. v.

Fujitsu, Ltd., 2007 U.S. Dist. LEXIS 5754, at *7 (D. Guam Jan. 25, 2007). Further, limiting

alternative service methods to only those explicitly authorized by China would necessarily render

Fed. R. Civ. P. 4(f)(3) superfluous and redundant of Fed. R. Civ. P. 4(f)(1).


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       China has not objected to service by email and electronic publication. To the contrary,

China explicitly authorizes service by email in certain situations and even public announcement

“if the whereabouts of a recipient of the service is unknown, or if a document cannot be served by

the other methods reflected in the law.” See Chanel, Inc., 2010 U.S. Dist. LEXIS 50745, at *7;

Gaudio Declaration at ¶ 17. China also explicitly authorizes “[s]ervice by facsimile, e-mail and

any other means through which the receipt of the document may be acknowledged” on Defendants

located outside of China. Id. Reciprocity dictates that if U.S. residents can be served via email by

a Chinese court, the reverse is also true.

       While China has objected to service by postal mail, Courts have declined to extend

countries’ objections to specific forms of service permitted by Article 10 of the Hague Convention,

such as postal mail, to service by other alternative means, including email. Sulzer Mixpac AG, 312

F.R.D. at 331-32 (collecting cases holding that service by email does not violate any international

agreement where the objections of the recipient nation are limited to those means enumerated in

Article 10). “China’s objection to service by postal mail does not cover service by email, and these

forms of communications differ in relevant respects. Email communications may be more reliable

than long-distance postal communications, and the arrival of an email at its destination address

may be more readily tracked.” Id. at 332. Further, while there may be strict and formal procedures

for effectuating service in China, these are of little consequence to this Court’s determination.

Nanya Tech. Corp., 2007 U.S. Dist. LEXIS 5724, at *14 (holding that Court should not consider

the receiving country’s laws of service when evaluating whether service pursuant to Fed. R. Civ.

P. 4(f)(3) was proper). Accordingly, service of process by electronic publication and email is

appropriate under Fed. R. Civ. P. 4(f)(3) since it is not prohibited by the Hague Convention, and




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because China has not objected to service of process by electronic publication and email.

Defendants have provided no authority to the contrary.

   IV.      Service via Email and Electronic Publication Comports with Constitutional
            Notions of Due Process.

         This Court also correctly found that service via email and electronic publication comported

with constitutional notions of due process, because it was reasonably calculated, under all of the

circumstances, to apprise Defendants of the pendency of this action and afford it an opportunity to

present objections. See Maclean-Fogg Co., 2008 U.S. Dist. LEXIS 97241, at *5. This was further

confirmed by Defendants’ actual receipt of notice via email. On May 16, 2018, pursuant to this

Court’s Order, Plaintiffs served Defendants via the Service Email Addresses. [44]; Gaudio

Declaration at ¶ 8. Plaintiffs have further provided notice of the TRO and its Motion for Entry of

the Preliminary Injunction to Defendants at the Service Email Addresses. Id. at ¶ 9. Service by

electronic publication and email was also particularly necessary in this Case since Plaintiffs sought

expedited injunctive relief.

         Notwithstanding Defendants’ actual notice via email, Courts have also held that

communications to email addresses listed on a defendant’s website comport with due process:

“[w]hile email communications may also go astray or fail to come to the relevant individuals’

attention, the Court finds that in this case, service to the email address listed on defendant’s website

is ‘reasonably calculated, under all circumstances, to apprise interested parties of the pendency of

the action and afford them an opportunity to present their objections.’” Sulzer Mixpac AG, 312

F.R.D. at 332. Defendant’s Motion should be denied.




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   V.       Alternatively, If This Court Finds That Its Previous Order Authorizing Electronic
            Service Pursuant to Fed. Civ. 4(f)(3) Was Insufficient, This Case Should Be
            Retained on Docket Pending Effective Service.

         Defendants have asked for this case to be dismissed. [102] at p. 15. However, if

Defendant’s Fed. R. Civ. P. 12(b)(5) motion is granted, this Court should quash the service and

retain the action. See Bacino v. American Federation of Musicians, 407 F. Supp. 548, 555 n.9

(N.D. Ill. 1976); Paget v. Principal Fin. Group, 2013 U.S. Dist. LEXIS 114645, at *9 (S.D. Ind.

Aug. 14, 2013). Dismissal of this case would thwart the purpose of the Federal Rules to secure

the just, speedy, and inexpensive determination of this case. Paget v. Principal Fin. Group, 2013

U.S. Dist. LEXIS 114645, at *9. This is especially true since Defendants actually received notice

of this case, and service in accordance with the Hague Convention would likely take at least one

year to be effectuated. See Gaudio Declaration at ¶ 16. Additionally, since this Case was filed on

March 27, 2018 [1] (over six months ago) and Defendants would likely not be served yet if served

under the Hague Convention, dismissal for insufficient service is also unwarranted. The time limit

for service per Fed. R. Civ. P. 4(m) does not apply to service in a foreign country under Rule 4(f).

As such, if this Court determines that service on Defendants was insufficient, Plaintiffs respectfully

request this Court to compel Defendants to provide verified names and addresses, and to stay this

Case for twelve months while Plaintiffs attempt service through the Hague Convention.

                                          CONCLUSION

         For the reasons states above, electronic service on the unknown Defendants pursuant to

Fed. R. Civ. P. 4(f)(3) was proper and provided Defendants with prompt notice of this Lawsuit.

Accordingly, Plaintiffs respectfully request that this Court deny Defendants’ Motion to Dismiss

[102].




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Dated this 24th day of October 2018.   Respectfully submitted,


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                                       Oakley, Inc.




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 24th day of October, I will electronically file the foregoing with

the Clerk of the Court using the CM/ECF system. The CM/ECF system will sent a “Notice of E-

Filing” to all attorneys of record in this case.



                                                   /s/ Justin R. Gaudio
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